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                                                              1     VINCENT J. BARTOLOTTA, JR., ESQ. SBN 055139
                                                                    KAREN R. FROSTROM, ESQ. SBN 207044
                                                              2     JARRETT S. CHARO, ESQ. SBN 224001
                                                                    KEVIN F. QUINN, ESQ. SBN 106224
                                                              3     THORSNES BARTOLOTTA           McGUIRE LLP
                                                                    2550 Fifth Avenue, 11th Floor
                                                              4     San Diego, California 92103
                                                                    Tel: (619) 236-9363 / Fax: (619) 236-9653
                                                              5
                                                                    William L. Conti
                                                              6     LAW OFFICES OF WILLIAM L. CONTI
                                                                    100 East San Marcos Boulevard #440
                                                              7     San Marcos, California 92069
                                                                    Tel: (760) 780-1700 / Fax: (760) 705-1335
                                                              8

                                                              9     Attorneys for Plaintiffs Keith Reilly, Troy Helton,
                                                                    Melanie Helton, Thelma Bryant, Laura Espina and
                                                              10    Omar Perez, individually and on behalf of all others
                                                                    similarly situated
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                                                              11

                                                              12                           UNITED STATES DISTRICT COURT
                              2550 FIFTH AVENUE, 11TH FLOOR
                               SAN DIEGO, CALIFORNIA 92103




                                                              13                        SOUTHERN DISTRICT OF CALIFORNIA
                                    FAX (619) 236-9653
                                      (619) 236-9363




                                                              14    Keith Reilly, Troy Helton, Melanie             Case No.: '14CV1580 H   DHB
                                                                    Helton, Thelma Bryant, Laura Espina
                                                              15    and Omar Perez, individually and on            CLASS ACTION COMPLAINT FOR
                                                                    behalf of all others similarly situated,       VIOLATION OF THE FAIR CREDIT
                                                              16                                                   REPORTING ACT
                                                                                 Plaintiffs,
                                                              17                                                   Jury Trial Demanded
                                                                          v.
                                                              18
                                                                    Pinnacle Security, LLC., Monitronics
                                                              19    International, Inc., Protection One
                                                                    Alarm Monitoring, Inc., Security
                                                              20    Networks, LLC, Vision Security,
                                                                    LLC, Vivint, Inc., Vivint Solar, Inc.,
                                                              21    and DOES 1 through 10,
                                                              22                 Defendants.
                                                              23

                                                              24          Plaintiffs Keith Reilly (“Reilly”), Troy Helton and Melanie Helton, husband
                                                              25    and wife (collectively “Helton”), Thelma Bryant (“Bryant”), and Laura Espina and
                                                              26    Omar Perez, husband and wife (collectively “Perez”) (together, “Plaintiffs”) bring this
                                                              27    action on their own behalf and on behalf of all others similarly situated, and allege
                                                              28    based on the investigation of counsel, the existing public record and on information
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                                                              1     and belief, as follows:
                                                              2                                 NATURE OF THE ACTION
                                                              3           1.     This is a Class Action lawsuit brought by Plaintiffs, on their own behalf
                                                              4     and on behalf of all other persons similarly situated, against the Defendants (as
                                                              5     defined in paragraph 21 below) who have operated their businesses in violation of 15
                                                              6     U.S.C. § 1681 et seq. (“Fair Credit Reporting Act” or “the Act”) by unlawfully
                                                              7     obtaining Consumer Reports (as that term is defined in 15 U.S.C. § 1681a(d) and
                                                              8     referred to herein as “Credit Reports”) on potential purchasers of Defendants’
                                                              9     products without the knowledge or consent of those potential purchasers.
                                                              10          2.     The Fair Credit Reporting Act strictly limits the circumstances under
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                                                              11    which a person may obtain a Credit Report relating to a consumer and generally
                                                              12    prohibits a person from obtaining a Credit Report relating to a consumer without the
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                                                              13    consumer’s authorization.
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                                      (619) 236-9363




                                                              14          3.     The Act provides that any person who willfully fails to comply with the
                                                              15    requirements of the Act with respect to any consumer is liable to that consumer for
                                                              16    statutory damages of up to $1,000 per incident, punitive damages, costs of suit, and
                                                              17    attorney’s fees.
                                                              18          4.     The Act further provides that any person who obtains a Credit Report on
                                                              19    a consumer, knowingly without a permissible purpose, is liable to that consumer for
                                                              20    statutory damages of up to $1,000 per incident, punitive damages, costs of suit, and
                                                              21    attorney’s fees.
                                                              22          5.     In violation of the Act, Defendants’ sales techniques involve obtaining
                                                              23    Credit Reports on each adult residing in a residence prior to presenting their products
                                                              24    to the residents. The information in the Credit Report is used to give Defendants’
                                                              25    salespersons a competitive advantage, as the salesperson will not proceed with the
                                                              26    sales presentation of the product if no adult in the residence could be approved to
                                                              27    purchase the product. Obtaining these Credit Reports also provides an advantage to
                                                              28    Defendants insofar as Defendants would advise their salespersons which products
                                                                                                             2
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                                                              1     could be financed by the adult residents. The salespersons can thus focus their
                                                              2     presentation only on the products that could be financed by the adult residents.
                                                              3           6.      In further violation of the Act, Defendants obtain the adult residents’
                                                              4     Credit Reports – including Plaintiffs’ – despite knowing that the adult residents have
                                                              5     not authorized Defendants to obtain these Credit Reports and despite knowing that
                                                              6     they (the Defendants) have no permissible purpose in obtaining the Credit Reports.
                                                              7           7.      There is nothing in the Act that allows Defendants to obtain these Credit
                                                              8     Reports and Defendants’ failure to comply with the Act subjects Defendants to
                                                              9     liability under the Act.
                                                              10          8.      The purpose of this action is to hold Defendants accountable and to
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                                                              11    obtain maximum legal and equitable relief from Defendants for engaging in unlawful
                                                              12    business acts, practices and/or conduct. This action seeks relief on the basis of
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                                                              13    multiple violations of federal law, that will include as a remedy for the Class
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                                      (619) 236-9363




                                                              14    members, inter alia, the following:
                                                              15                  (a)   Actual damages for the Defendants’ misconduct complained of
                                                              16    herein;
                                                              17                  (b)   Statutory damages for the Defendants’ misconduct complained of
                                                              18    herein;
                                                              19                  (c)   Punitive damages for the Defendants’ misconduct complained of
                                                              20    herein; and
                                                              21                  (d)   Injunctive relief.
                                                              22                                JURISDICTION AND VENUE
                                                              23          9.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331,
                                                              24    in that this is a civil action arising under the Fair Credit Reporting Act.
                                                              25          10.     Plaintiffs allege, upon information and belief, that each of the Defendants
                                                              26    conducts professional and commercial activities in California on a substantial,
                                                              27    continuous, and systematic basis and therefore each of the Defendants is subject to the
                                                              28    general jurisdiction of the courts of this state.
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                                                              1            11.    Plaintiffs further allege, upon information and belief that many of the
                                                              2     claims asserted in this complaint arise out of or are related to the Defendants’
                                                              3     professional and commercial activities within California, and therefore Defendants are
                                                              4     subject to the specific jurisdiction in California.
                                                              5            12.    Venue is proper in this district under 28 U.S.C. § 1391(b)(2), in that a
                                                              6     substantial part of the events or omissions giving rise to the claim occurred in this
                                                              7     district.
                                                              8                                             PARTIES
                                                              9            13.    Upon information and belief, Defendant Pinnacle Security LLC
                                                              10    (“Pinnacle”) is a limited liability company organized under the laws of Utah and has
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                                                              11    its principal place of business in Orem, Utah. Pinnacle is in the business of delivering
                                                              12    alarm monitoring services for residential use.
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                                                              13           14.    Upon information and belief, Defendant Monitronics International, Inc.
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                                      (619) 236-9363




                                                              14    (“Monitronics”) is a corporation that is incorporated in Texas and has its principal
                                                              15    place of business in Dallas, Texas. Defendant Monitronics is in the business of
                                                              16    delivering alarm monitoring services. On August 16, 2013, Monitronics acquired all
                                                              17    of the equity interests of defendant Security Networks, LLC. Monitronics further
                                                              18    purchases in bulk contracts for alarm services from defendant Vision Security, LLC
                                                              19    and/or utilizes Vision Security, LLC to sell its products and services to members of
                                                              20    the public. Plaintiffs are informed and believe that Monitronics itself engages in the
                                                              21    wrongful conduct directly as herein alleged by engaging in, authorizing, and/or
                                                              22    ratifying the illegal acts.
                                                              23           15.    Upon information and belief, Defendant Protection One Alarm
                                                              24    Monitoring, Inc. (“Protection One”) is a corporation that is incorporated in Delaware
                                                              25    and has its principal place of business in Lawrence, Kansas. Protection One is in the
                                                              26    business of installing and monitoring alarms systems.
                                                              27           16.    Upon information and belief, Defendant Security Networks, LLC
                                                              28    (“Security Networks”) is a company that is organized under the laws of Florida and
                                                                                                               4
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                                                              1     has its principal place of business in Dallas, Texas. Security Networks is in the
                                                              2     business of delivering alarm monitoring services. On August 16, 2013, defendant
                                                              3     Monitronics acquired all of the equity interests of Security Networks, including,
                                                              4     without limitation, security contracts that were acquired by Security Networks
                                                              5     utilizing the illegal sales tactics as herein alleged.
                                                              6            17.    Upon information and belief, Defendant Vision Security, LLC (“Vision”)
                                                              7     is a company that is organized in Utah and has its principal place of business in Orem,
                                                              8     Utah. Vision is a home automation and security company.
                                                              9            18.    Upon information and belief, Defendant Vivint, Inc. (“Vivint”) is a
                                                              10    corporation that is incorporated in Utah and has its principal place of business in
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                                                              11    Provo, Utah. Vivint is a home automation and security company.
                                                              12           19.    Upon information and belief, Defendant Vivint Solar, Inc. (“Vivint
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                                                              13    Solar”) is a corporation that is incorporated in Delaware and has its principal place of
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                                                              14    business in Provo, Utah. Vivint Solar is in the business of providing residential solar
                                                              15    energy systems.
                                                              16           20.    Plaintiffs do not know the true names and capacities of defendants sued
                                                              17    herein as DOES 1 through 10, inclusive and therefore sue them by the fictitious names
                                                              18    of DOES 1 through 10, inclusive. Plaintiffs will seek leave of this Court to amend
                                                              19    this complaint to set forth the true name and capacities of the fictitiously named
                                                              20    defendants when their true identities become known to Plaintiffs.
                                                              21           21.    The term “Defendants” as used in this Complaint refers collectively to
                                                              22    Pinnacle, Monitronics, Protection One, Security Networks, Vision, Vivint, Vivint
                                                              23    Solar, and DOES 1 through 10, inclusive.
                                                              24           22.    Plaintiff Reilly is an individual who resides in San Diego, California and
                                                              25    is a citizen of California. In or around 2012, Reilly was solicited at his home in
                                                              26    Valley Center, California by a salesperson seeking to sell him security products or
                                                              27    services. The salesperson advised that he was an agent of Defendant Vision, an
                                                              28    authorized distributor of Monitronics’ products and services and that he would like to
                                                                                                               5
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                                                              1     present Reilly with a proposal for security products and services. The salesperson then
                                                              2     advised Reilly that he was required to verify ownership of the home and asked Reilly
                                                              3     for his full name and date of birth. The salesperson then called Defendant
                                                              4     Monitronics’ home office and Vision and Monitronics obtained Reilly’s Credit Report
                                                              5     without his authorization and despite knowing that they did not have Reilly’s
                                                              6     authorization to do so.
                                                              7           23.    In or around May 2014, Reilly was again solicited at his home in Valley
                                                              8     Center, California by a salesperson for a distributor authorized to sell Vivint Solar’s
                                                              9     products. That salesperson is part of a sales operation using salespeople who are
                                                              10    trained by Vivint Solar to use Vivint Solar’s sales techniques and strategies. Before
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                                                              11    Vivint Solar solicited Plaintiff Reilly for any products or services, Vivint Solar also
                                                              12    obtained Reilly’s Credit Report in the manner herein alleged without his authorization
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                                                              13    and despite knowing that it did not have his authorization to do so.
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                                                              14          24.    Plaintiffs Perezes are individuals who reside in Moreno Valley,
                                                              15    California and are citizens of California. In or around February of 2012, Mrs. Perez
                                                              16    was solicited at her home by a salesperson for Defendant Pinnacle for the purchase of
                                                              17    home security products and services. Defendant Pinnacle’s salesperson advised
                                                              18    Mrs. Perez that he needed to verify her ownership of the home and asked for her full
                                                              19    name and date of birth. Thereafter, Pinnacle obtained Mrs. Perez’s Credit Report
                                                              20    without her authorization. The salesperson determined that Mrs. Perez did not qualify
                                                              21    for services so he had Pinnacle obtain her husband’s (Mr. Perez’s) Credit Report
                                                              22    without either of the Perezes’ authorization. Pinnacle obtained these two Credit
                                                              23    Reports despite knowing that it did not have either of the Perezes’ authorization to do
                                                              24    so.
                                                              25          25.    Mrs. Perez ultimately entered into a service contract with Pinnacle.
                                                              26    Plaintiffs Perezes are informed and believe and thereon allege that the contract
                                                              27    executed by her was subsequently sold by Defendant Pinnacle to Defendant Protection
                                                              28    One who had authorized, directed and/or ratified the use of the improper sales tactics
                                                                                                             6
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                                                              1     as herein alleged.
                                                              2           26.    Plaintiffs Heltons are individuals, husband and wife, who reside in
                                                              3     Murietta, California and are citizens of California. In or around April of 2014,
                                                              4     Mr. Helton was solicited at his home in Murietta, California by a salesperson
                                                              5     authorized to sell Vivint’s products and services. The salesperson informed
                                                              6     Mr. Helton that he would need to verify home ownership and asked for Mr. Helton’s
                                                              7     full name and date of birth. The salesperson then submitted this information via
                                                              8     telephone to Vivint who obtained Mr. Helton’s Credit Report without his
                                                              9     authorization and despite knowing that it did not have Mr. Helton’s authorization to
                                                              10    do so. When Mr. Helton failed to qualify for the products and services being offered,
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                                                              11    the salesperson obtained Mrs. Helton’s full name and date of birth and provided it to
                                                              12    Vivint who obtained her Credit Report without her (or Mr. Helton’s) authorization and
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                                                              13    despite knowing that it did not have her (or his) permission to do so.
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                                                              14          27.    Plaintiffs are informed and believe that the salesperson referenced above
                                                              15    is part of a sales organization that utilizes salespeople who are trained by Vivint to use
                                                              16    Vivint’s sales techniques and strategies.
                                                              17          28.    Additionally, in or around April of 2014, Mr. Helton was solicited at his
                                                              18    home in Murietta, California by a salesperson of a distributor authorized to sell Vivint
                                                              19    Solar’s products. That distributor operates a sales operation using salespeople who
                                                              20    are trained by Vivint Solar to use Vivint Solar’s sales techniques and strategies.
                                                              21    Before Vivint Solar provided this solicitation to Mr. Helton, Vivint Solar obtained
                                                              22    Mr. Helton’s Credit Report without his authorization and despite knowing that it did
                                                              23    not have his authorization to do so.
                                                              24          29.    Plaintiff Bryant is an individual who resides in Philadelphia,
                                                              25    Pennsylvania and is a citizen of Pennsylvania. In or around July of 2013, Bryant was
                                                              26    solicited at her home in Philadelphia, Pennsylvania by a salesperson from a distributor
                                                              27    authorized to sell Vivint’s products. That distributor operates a sales operation using
                                                              28    salespeople who are trained by Vivint to use Vivint’s sales techniques and strategies
                                                                                                                7
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                                                              1     as herein alleged. Before the solicitation, Vivint obtained Bryant’s Credit Report
                                                              2     without her authorization and despite knowing that it did not have her authorization to
                                                              3     do so.
                                                              4                                CLASS ACTION ALLEGATIONS
                                                              5              30.   Pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(3),
                                                              6     Plaintiffs bring this class action on behalf of themselves and as representatives of the
                                                              7     class. The class is defined to include all individuals for whom Defendants obtained
                                                              8     Credit Reports from June 2009 through the present – without the prior authorization of
                                                              9     those individuals.
                                                              10             31.   The joinder of all class members in one action is impracticable. The
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                                                              11    putative class consists of thousands of class members. The class and class size will be
                                                              12    objectively ascertainable upon discovery of Defendants’ sales and operations records.
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                                                              13    The disposition of these persons’ claims in a class action will provide substantial
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                                                              14    benefits to both the parties and the Court. The class is ascertainable and maintains a
                                                              15    sufficient community of interest. The rights of each member of the class were
                                                              16    violated in a similar fashion based upon Defendants’ uniform wrongful conduct.
                                                              17             32.   The class representatives’ claims are typical of the claims of the members
                                                              18    of the class because the class representatives and all other members of the class were
                                                              19    damaged by the same wrongful conduct committed by Defendants, as alleged herein.
                                                              20    Moreover, the class representatives’ claims are typical because the class
                                                              21    representatives and all other members of the class each have interests in the privacy
                                                              22    and protection of their credit information.
                                                              23             33.   Plaintiffs will fairly and adequately protect the interests of the class. The
                                                              24    interests of the class representatives are coincident with, and not antagonistic to, the
                                                              25    interests of the other members of the class. Plaintiffs are aware of their duties to the
                                                              26    class.
                                                              27             34.   Plaintiffs have retained counsel competent and experienced in the
                                                              28    prosecution of class action litigation.
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                                                              1           35.    Questions of law and fact common to the members of the class
                                                              2     predominate over questions which may affect only individual members. Among the
                                                              3     questions of law and fact common to the class are:
                                                              4                  (a)    Whether Defendants’ sales practices violate the Fair Credit
                                                              5     Reporting Act;
                                                              6                  (b)    Whether Defendants obtained the Credit Reports of the class
                                                              7     members without their authorization;
                                                              8                  (c)    Whether Defendants obtained the Credit Reports of the class
                                                              9     members despite knowing that they did not have authorization to do so.
                                                              10                 (d)    Whether Defendants had a permissible purpose for obtaining the
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                                                              11    Credit Reports of the class members; and
                                                              12                 (e)    Whether Defendants acted willfully in violating the Fair Credit
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                                                              13    Reporting Act.
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                                                              14          36.    A class action is superior to other available methods for the fair and
                                                              15    efficient adjudication of this controversy. The class members are so numerous that
                                                              16    joinder of all members is impracticable. Class action treatment will permit a large
                                                              17    number of similarly situated persons to prosecute their common claims in a single
                                                              18    forum simultaneously, efficiently, and without the duplication of effort and expense
                                                              19    that numerous individual actions would engender. The class members are unlikely to
                                                              20    have an interest in individually litigating their claims due to the expenses of litigation
                                                              21    and the small amount of statutory damages provided under the Fair Credit Reporting
                                                              22    Act. There are no difficulties likely to be encountered in the management of this class
                                                              23    action that would preclude its maintenance as a class action.
                                                              24            CAUSE OF ACTION FOR VIOLATION OF THE FAIR CREDIT
                                                              25                                      REPORTING ACT
                                                              26          37.    Plaintiffs repeat and re-allege paragraphs 1 through 36 above, as if fully
                                                              27    set forth herein.
                                                              28          38.    Defendants, hundreds of thousands of times per year, violate the Fair
                                                                                                              9
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                                                              1    Credit Reporting Act by obtaining Credit Reports on potential purchasers of
                                                              2    Defendants’ products – including Plaintiffs – without the potential purchasers’
                                                              3    authorization.
                                                              4            39.      Defendants, hundreds of thousands of times per year, violate the Fair
                                                              5    Credit Reporting Act by obtaining Credit Reports on potential purchasers of
                                                              6    Defendants’ products – including Plaintiffs – despite knowing that the potential
                                                              7    purchasers have not provided authorization to do so.
                                                              8            40.      Defendants, hundreds of thousands of times per year, violate the Fair
                                                              9    Credit Reporting Act by obtaining Credit Reports on potential purchasers of
                                                              10   Defendants’ products – including Plaintiffs – without the potential purchasers’
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                                                              11   authorization despite knowing that, or recklessly disregarding the fact that, such
                                                              12   practices violate the Act.
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                                                              13           41.      Defendants have no permissible purpose for obtaining these Credit
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                                                              14   Reports.
                                                              15           42.      As a result of misconduct of Defendants herein described, Plaintiffs and
                                                              16   members of the class have suffered actual damages in an amount to be proven at trial.
                                                              17           43.      As a result of Defendants’ misconduct, Plaintiffs and the Class are
                                                              18   entitled to recover statutory damages, punitive damages, costs of suit, and attorney’s
                                                              19   fees.
                                                              20           44.      Pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(3),
                                                              21   Plaintiffs and the class hereby request certification of the class, as well as statutory
                                                              22   damages, punitive damages, attorney’s fees, costs, and expenses pursuant to the Act.
                                                              23                                     PRAYER FOR RELIEF
                                                              24           Wherefore, Plaintiffs pray that this action be certified as a class, and that
                                                              25   judgment be entered against Defendants, jointly and severally, as follows:
                                                              26                    (a)   For actual damages in an amount to be determined and proven at
                                                              27   time of trial;
                                                              28                    (b)   For statutory damages in an amount to be determined and proven
                                                                                                               10
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                                                              1    at time of trial;
                                                              2                     (c)   For punitive damages in an amount to be determined and proven at
                                                              3    time of trial;
                                                              4                     (d)   For interest thereon at the maximum legal rate;
                                                              5                     (e)   For pre-judgment interest on all sums awarded at the maximum
                                                              6    legal rate;
                                                              7                     (f)   For the costs of litigation and investigation associated with this
                                                              8    suit;
                                                              9                     (g)   As no adequate remedy at law exists, for temporary, preliminary
                                                              10   and permanent injunctive relief enjoining Defendants from obtaining individuals’
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                                                              11   Credit Reports without their authorization; and
                                                              12                    (h)   For such other relief as the Court deems appropriate.
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                                                              13                                 DEMAND FOR JURY TRIAL
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                                      (619) 236-9363




                                                              14           Plaintiffs hereby request a jury trial on all claims permitted by law.
                                                              15   Dated: July 1, 2014                       THORSNES BARTOLOTTA McGUIRE LLP
                                                              16

                                                              17                                     By:                     /s/ Jarrett S. Charo
                                                                                                             VINCENT J. BARTOLOTTA, JR., ESQ.
                                                              18                                             KAREN R. FROSTROM, ESQ.
                                                                                                             JARRETT S. CHARO, ESQ.
                                                              19                                             KEVIN F. QUINN, ESQ.
                                                                                                             Attorneys for Plaintiffs Keith Reilly, Troy
                                                              20                                             Helton, Melanie Helton, Thelma Bryant, Laura
                                                                                                             Espina and Omar Perez, individually and on
                                                              21                                             behalf of all others similarly situated
                                                              22

                                                              23   Dated: July 1, 2014                       LAW OFFICES OF WILLIAM L. CONTI
                                                              24

                                                              25                                     By:                     /s/ William L. Conti
                                                                                                             WILLIAM L. CONTI
                                                              26                                             Attorneys for Plaintiffs Keith Reilly, Troy
                                                                                                             Helton, Melanie Helton, Thelma Bryant, Laura
                                                              27                                             Espina and Omar Perez, individually and on
                                                                                                             behalf of all others similarly situated
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